Case: 3:16-cv-50310 Document #: 254-6 Filed: 09/15/23 Page 1 of 5 PageID #:3602




             EXHIBIT 23
9/14/23, 9:48 AM                               Case: 3:16-cv-50310 Document #: 254-6City
                                                                                      Filed:    09/15/23
                                                                                         of Chicago :: AbortionPage
                                                                                                                Care 2 of 5 PageID #:3603

                                             An official website of the City of Chicago Here's how you know


  COVID-19 Vaccine
  The COVID-19 vaccines are safe and effective, and are an important tool for ending the global pandemic. Vaccines protect you and the people around you, reducing the spread of COVID-19. Learn more at Learn more at
  Chicago.gov/COVIDVax.




                                                            CHICAGO                                                                               Accessibility
                                                                                                                                                   Search                          


                                            I WANT TO            PROGRAMS AND INITIATIVES                     GOVERNMENT      ABOUT                                 TRANSLATE




                                               Chicago Department of
                                               Public Health
                                               Providing guidance, services, and strategies
                                               that make Chicago a healthier and safer city.



                                          Home / Departments / Chicago Department of Public Health / Healthy Families / Services / Abortion Care




                                                     Abortion Care

                                                   Looking for resources in Chicago?
                                                         Use the City’s digital community resource directory

                                                   Pregnant Person:
                                                          Talk to someone about your options for free: All Options Talkline 1-888-493-0092
                                                          Already know you need an abortion? Click here for help.
                                                          Telehealth Abortion Providers/Abortion by Mail:
                                                                 Abortion Guides by State
                                                                 Plan C




                                          Abortion Is Legal In Illinois.
                                                                    Though federal protections for abortion went away with the overturning of Roe v. Wade, abortion is still legal and
                                                                    available in Illinois. Make sure you know your rights!

                                                                    Many states had or passed laws that banned abortion when Roe v. Wade was struck down. Illinois has a law
                                                                    keeping abortion legal: Governor JB Pritzker signed the Reproductive Health Act into law in 2019.

                                                                    Learn how to protect your digital privacy when seeking reproductive care.

                                                                    The Illinois
                                                                                Attorney General has provided specific guidance to law enforcement on abortion.




                                          What Is Abortion?
                                          An induced abortion is the voluntary termination of a pregnancy. An induced abortion can be done surgically or by taking medication.
                                          There are many reasons a person may have an induced abortion. A person may not wish to continue their pregnancy, or it may be
                                          medically indicated due to maternal complications of pregnancy or fetal anomaly.

                                          In Illinois, you can have an induced abortion for any reason until fetal viability, around 24-26 weeks of pregnancy. A fetus is considered
                                          viable if there is a significant chance it will be able to survive outside of the uterus without extraordinary medical interventions. A
                                          healthcare provider must determine whether pregnancy has reached viability. After a pregnancy is determined to be viable, an induced
                                          abortion can only be done to protect the patient’s life or physical and mental health. If you are unsure if your pregnancy is viable, speak
                                          to a healthcare provider to determine whether you can legally have an abortion in Illinois.

                                          Anyone with the biological capability to become pregnant could need an abortion. This includes women, transgender men, or non-
                                          binary people. People of all gender identities need access to safe abortion care.




                                                                                                                           Pregnancy Options Counseling
                                                                                                                           The standard of care for any pregnant person is to
                                                                                                                           provide them with comprehensive pregnancy options
                                                                                                                           counseling. Pregnancy options counseling, or options
                                                                                                                           counseling, is a discussion between a pregnant person
                                                                                                                           and a healthcare provider, or other support workers, that
                                                                                                                           occurs when a pregnant person learns or shares with a
                                                                                                                           provider that they are pregnant. Anyone can be trained to
                                                                                                                           provide options counseling, but the information they


                                                                                                                                                                                           NIFLA 02005
https://www.chicago.gov/city/en/depts/cdph/provdrs/healthymothers_and_babies/svcs/abortion-care.html                                                                                                                     1/4
9/14/23, 9:48 AM                               Case: 3:16-cv-50310 Document #: 254-6City
                                                                                      Filed:    09/15/23
                                                                                         of Chicago :: AbortionPage
                                                                                                                Care 3 of 5 PageID #:3604
                                                                                                                       provide must be medically accurate, non-biased, and
                                                                                                                       comprehensive of all options. There are 3 options when
                                                                                                                       someone is pregnant:

                                                                                                                             Abortion
                                                                                                                             Adoption
                                                                                                                             Parenting

                                                                                                                       You are entitled to options counseling that presents all 3
                                                                                                                       options in a neutral and factual way. No one else should
                                                                                                                       be directing your decision.

                                                                                                                       Please note: there are some organizations referred to as
                                                                                                                       Crisis Pregnancy Centers that do not provide the full
                                                                                                                       spectrum of reproductive health services. These centers
                                                                                                                       do not typically provide the standard of care when it
                                                                                                                       comes to options counseling. They do not offer abortions
                                                                                                                       or referrals to abortion providers.

                                                                                                                       It is vital that pregnant people understand all the
                                                                                                                       pregnancy options available to them, including abortion.
                                                                                                                       In Illinois, you are not required to endure a waiting period,
                                                                                                                       view an ultrasound, or review any state-mandated
                                                                                                                       informational text or video in order to obtain an abortion.




                                          Abortion Types
                                          There are two kinds of abortion: medication and surgical.

                                                Medication/Medical Abortion: A medication abortion uses two different medications to end a pregnancy. These pills are
                                                sometimes referred to as the “abortion pills." You can obtain these medications at a medical office or via telehealth through a
                                                licensed healthcare provider in Illinois. You will be thoroughly counseled on how to take the medication and what to expect
                                                during the medication abortion process. A medication abortion does not require surgery or anesthesia; however, your provider
                                                may want you to get an ultrasound or blood work. You are usually able to have a medication abortion up until 10-11 weeks of
                                                pregnancy. It is 93-98% effective at ending a pregnancy, and it is most effective earlier on in the pregnancy.

                                                      You cannot tell the difference between an induced abortion and a spontaneous abortion (i.e., a miscarriage). If you have
                                                      complications with a medication abortion and seek medical care because of it, you do not have to tell the healthcare
                                                      provider taking care of you that you had an induced medication abortion.

                                                      Self-Managed Abortion is when a person chooses to induce their own abortion outside a medical setting. Self-managed
                                                      abortion is not new. People have been having abortions for centuries. Self-managing an abortion can be safe and effective
                                                      and often include:

                                                            Self-sourcing abortion pills and taking them at home.

                                                            Having an abortion supported by a home provider or doula who has knowledge and training.

                                                            Having an abortion that is mostly self-managed but may also begin or end with support from a physician or other
                                                            licensed provider.

                                                Surgical Abortion: A surgical abortion is a procedure that is usually done in a medical office with sedation and/or pain-relieving
                                                medication. The procedure itself usually takes less than 5-10 minutes, but the whole visit may take a few hours. A surgical
                                                abortion can be performed in a one-, two- or three-visit procedure, depending on how many weeks pregnant you are. After the
                                                procedure, you will be monitored briefly and go home the same day. Oftentimes, you will need to have someone take you to the
                                                procedure and pick you up. It is 99% effective at ending a pregnancy.

                                                      Hospital-Based Abortions: Most people can safely self-manage their own abortion or have a procedure in a clinic. Some
                                                      individuals may need to have their procedure in a hospital instead if they have ever been diagnosed with certain conditions.
                                                      These may include heart failure, heart attack, stroke, kidney failure, recent seizures, multiple cesarean sections (C-
                                                      sections), are severely anemic, have uncontrolled high blood pressure, a bleeding condition that makes hemorrhage likely,
                                                      or advanced gestational age. Work closely with your provider to understand your health risks and if an abortion in a hospital
                                                      is necessary.

                                          Every pregnant person’s situation is different. Your medical history, personal preferences, and ability to access care may play a role in
                                          what type of abortion you have. Speak with a healthcare provider to determine what the best abortion option is for you.

                                          As with any medical intervention or procedure, medication and surgical abortions have risks associated with them. However, these
                                          risks are rare and overall abortion is very safe. Having an abortion does not impact future fertility. In fact, fertility returns quickly after
                                          an abortion. If you are interested in birth control, talk to your healthcare provider about birth control options.




                                            Post-Abortion Support                                                     Minors In Illinois
                                            Having an abortion can trigger many different feelings                    If you are under 18 years old and need an abortion in Illinois,
                                            including relief, hope, guilt, anger, and sadness. If you find            you do not need to notify or get permission from a parent or
                                            that you have trouble coping after getting an abortion, let               legal guardian. Previously, there was a parental notice law in
                                            your healthcare provider know. You can also find support                  Illinois, but it was repealed. This became effective on June 1,
                                            below:                                                                    2022. Additionally, you are not required to speak separately
                                                                                                                      with a counselor or social worker about your decision unless
                                                  Exhale
                                                                                                                      you want to. If you desire to speak with a social worker or
                                                  Connect and Breathe
                                                                                                                      counselor, tell your healthcare provider.

                                                                                                                      Please note that some telehealth abortion providers do not
                                                                                                                      provide services to people who are pregnant and under the
                                                                                                                      age of 18.

                                                                                                                                                                                            NIFLA 02006
https://www.chicago.gov/city/en/depts/cdph/provdrs/healthymothers_and_babies/svcs/abortion-care.html                                                                                                      2/4
9/14/23, 9:48 AM                              Case: 3:16-cv-50310 Document #: 254-6City
                                                                                     Filed:    09/15/23
                                                                                        of Chicago :: AbortionPage
                                                                                                               Care 4 of 5 PageID #:3605




                                           Insurance                                                               Out Of State Support
                                           If you are seeking an abortion, you may want to choose an               If you live outside of Illinois, you may be able to leverage
                                           abortion provider that accepts your insurance plan. In Illinois,        telehealth abortion providers through the mail for a
                                           Medicaid and most private insurance plans that cover                    medication abortion:
                                           pregnancy-related care must cover the cost of an in-office
                                                                                                                         Find Abortion Pill Access in Your State
                                           abortion. Learn more about when abortions must be covered
                                           by private insurance in Illinois.                                       At this time, no state has explicitly banned people from
                                                                                                                   traveling to another state to receive an abortion. If you live in
                                           Some insurance plans only cover in-office services. If you
                                                                                                                   a state that limits abortion access you can travel to Illinois,
                                           desire an abortion via telehealth, check with your insurance
                                                                                                                   where abortion remains legal, to receive comprehensive
                                           provider to ensure that they cover telehealth abortion
                                                                                                                   reproductive health services.
                                           services. Alternatively, some telehealth abortion providers do
                                           not accept insurance and you must pay out of pocket for                 If you are seeking an abortion in Illinois but traveling from out
                                           their services.                                                         of state it is important that you:

                                           If you live in Illinois and don’t have insurance, there are                   Speak with a healthcare provider to determine what the
                                           Medicaid programs for pregnant people.                                        best abortion option is for you.
                                                                                                                               You may be able to receive a telehealth visit
                                           Illinois is one of only 16 states that go beyond federal
                                                                                                                               ahead of your appointment.
                                           Medicaid limits and use state funds to cover abortions for
                                                                                                                               You may need to stay overnight for a multi-day
                                           people enrolled in Medicaid. Illinois state law provides a right
                                                                                                                               procedure.
                                           to reproductive healthcare, including abortion and maternity
                                                                                                                         Bring your ID and insurance information to your
                                           care. There are two programs for pregnant people, regardless
                                                                                                                         appointment.
                                           of citizenship or immigration status:

                                                 Medicaid Presumptive Eligibility (MPE) offers
                                                 immediate, temporary coverage for outpatient
                                                 healthcare for pregnant people.

                                                 Moms & Babies coverage is the full Medicaid benefit
                                                 package, including covers both outpatient healthcare,
                                                 and inpatient hospital care, including labor and delivery,
                                                 primary and specialty care, and prescription drugs for
                                                 pregnant people. Moms & Babies can cover up to three
                                                 months of coverage retroactively.

                                           People covered under the state’s Health Benefits For
                                           Immigrant Adults program who become pregnant can
                                           transition to coverage under the Moms & Babies program.

                                           If your insurance doesn’t cover abortion services or you don’t
                                           have health insurance, there are private organizations that
                                           may be able to help you with abortion costs, and some clinics
                                           may also provide financial assistance.




                                           Connecting to reproductive healthcare                                                                                                     

                                           Additional Reproductive Health Resources                                                                                                  


                                           For Medical Providers                                                                                                                     

                                           What is the history of abortion access in the United States?                                                                              


                                           Why does access to safe abortion care services matter?                                                                                    

                                           How is the City of Chicago involved in abortion care?                                                                                     




                                          Disclaimer: This website is for information only. It does not provide legal and medical advice or create an attorney-client relationship.

                                                                                                                                                            Last Updated 12/14/2022




                                                                                                                                                                                         NIFLA 02007
https://www.chicago.gov/city/en/depts/cdph/provdrs/healthymothers_and_babies/svcs/abortion-care.html                                                                                                   3/4
9/14/23, 9:48 AM                              Case: 3:16-cv-50310 Document #: 254-6City
                                                                                     Filed:    09/15/23
                                                                                        of Chicago :: AbortionPage
                                                                                                               Care 5 of 5 PageID #:3606



                                          Contact CDPH                                              Links                                           Connect With CDPH
                                          Main Phone: 312.747.9884                                   General                                                   
                                          Employment Verifications: 312.747.9580                     Inquiries: healthychicago@cityofchicago.org
                                          Communicable Disease, TB, and Immunization                 Media
                                          Programs: 312.746.5380                                     Inquiries: media.cdph@cityofchicago.org
                                          Food Protection: 312.746.8030                              211 Metro Chicago Helpline:
                                          Lead Poisoning Prevention: 312.747.5323                    211MetroChicago.org
                                          24-hour Assistance: 311                                    FOIA Requests: File A Public Health FOIA
                                                                                                     Request
                                                                                                     Medical Records: How to Obtain a CDPH
                                                                                                     Medical Record




                                          Home       Disclaimer          Privacy Policy        Web Standards       Site Credits       Site Map     Contact Us       Press Room



                                                     City of Chicago                                                                                                       
                                                     Copyright © 2010 - 2023 City of Chicago




                                                                                                                                                                                 NIFLA 02008
https://www.chicago.gov/city/en/depts/cdph/provdrs/healthymothers_and_babies/svcs/abortion-care.html                                                                                           4/4
